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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR09-006-JLR
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   WILLIE JAMES EARL, JR.               )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Marijuana; Distribution of Marijuana (three

15                         counts)

16 Date of Detention Hearing:        January 15, 2009

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense the maximum penalty of which

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

02 dangerousness and flight risk, under 18 U.S.C. §3142(e). The offenses carry mandatory minimum

03 terms of at least 10 years, and, if both defendant’s prior drug convictions were to be charged, up

04 to life imprisonment.

05          2.      Defendant has a prior conviction relating to production of a false drivers license.

06 The AUSA proffers the information that the scheme utilized a corrupt employee of the Department

07 of Licensing. The AUSA further proffers that during a search connected with the instant matter,

08 another fraudulent drivers license was found with the defendant’s photograph. The searches at

09 multiple locations, many of which were owned by the defendant, also found a firearm, ammunition

10 including a magazine to an assault rifle (the assault rifle has not been located), marijuana

11 packaging equipment, and a secret room with two full hockey bags of marijuana. Defendant is

12 reported to have withdrawn the cash proceeds from a recent sale of one of his properties, which

13 cash was not located in the searches.

14          3.      Defendant poses a risk of nonappearance due to association with false identifiers

15 and a prior conviction related to the production of false identification documents, ownership of

16 numerous properties in the area including one which has been recently liquidated, and marijuana

17 use. He poses a risk of danger due to the firearms and ammunition discovered in the search of

18 properties owned by him, two prior felony drug conviction, the nature of the instant offense, and

19 a long history of drug abuse.

20          4.      Taken as a whole, the record does not effectively rebut the presumption that no

21 condition or combination of conditions will reasonably assure the appearance of the defendant as

22 required and the safety of the community.

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01 It is therefore ORDERED:

02         (1)   Defendant shall be detained pending trial and committed to the custody of the

03               Attorney General for confinement in a correction facility separate, to the extent

04               practicable, from persons awaiting or serving sentences or being held in custody

05               pending appeal;

06         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

07               counsel;

08         (3)   On order of a court of the United States or on request of an attorney for the

09               Government, the person in charge of the corrections facility in which defendant is

10               confined shall deliver the defendant to a United States Marshal for the purpose of

11               an appearance in connection with a court proceeding; and

12         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

13               counsel for the defendant, to the United States Marshal, and to the United States

14               Pretrial Services Officer.

15         DATED this 15th day of January, 2009.



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17                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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